 Fill in this information to identify the case:

 Debtor 1          Kenneth   Robert Rice
                   __________________________________________________________________

 Debtor 2              Denise  Marie Rice
                       ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District       of __________
                                                          of Wisconsin
                                                       District

 Case number           2:17-bk-24643-kmp
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                              U.S. Bank Trust National Association,
 Name of creditor: as Trustee of the Bungalow Series III Trust
                   _______________________________________                                                        5-1
                                                                                      Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                               Date of payment change:
 identify the debtor’s account:                          3 ____
                                                        ____ 2 ____
                                                                 2 ____
                                                                     5                Must be at least 21 days after date       05/01/2020
                                                                                                                                _____________
                                                                                      of this notice


                                                                                      New total payment:                              1,270.86
                                                                                                                                $ ____________
                                                                                      Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                     426.98
                   Current escrow payment: $ _______________                        New escrow payment:                   646.35
                                                                                                                $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:        _______________%                   New interest rate:          _______________%

                   Current principal and interest payment: $ _______________        New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                      New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Kenneth     Robert Rice
                 _______________________________________________________                        Case number         2:17-bk-24643-kmp
                                                                                                              (if known) _____________________________________
                 First Name       Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û /s/ Michelle R. Ghidotti-Gonsalves, Esq.
     _____________________________________________________________
     Signature
                                                                                                Date     04/06/2020
                                                                                                         ___________________




 Print:             Michelle  R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   Agent  for Secured Creditor
                                                                                                        ___________________________
                    First Name                       Middle Name         Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920  Old Tustin Avenue
                    _________________________________________________________
                    Number                  Street

                    Santa Ana                        CA     95027
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone      949-427-2010
                    ________________________                                                            bknotifications@ghidottigberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 2
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                                                         CASE NO.: 2:17-bk-24643-kmp


                            CERTIFICATE OF SERVICE
      On April 6, 2020, I served the foregoing document described as Notice of Mortgage
Payment Change on the following individuals by electronic means through the Court’s
ECF program:


COUNSEL(S) FOR DEBTOR(S)

Andrew M. Golanowski          wal@geracilaw.com
Felicia Petroff               wal@geracilaw.com
Joseph J. Blaha               wal@geracilaw.com
Kathryn Kay MacKenzie         wal@geracilaw.com


TRUSTEE(S) / TRUSTEE(S) COUNSEL(S)

Scott Lieske                  ecf@chapter13milwaukee.com, mgwi_ecf@trustee13.com
U. S. Trustee                 ustpregion11.mi.ecf@usdoj.gov


       On April 6, 2020, I served the foregoing documents described as Notice of
Mortgage Payment Change on the following individuals by depositing true copies thereof
in the United States mail at Santa Ana, California, enclosed in a sealed envelope, with
postage paid, addressed as follows:

 Debtor                                           Joint Debtor
 Kenneth Robert Rice                              Denise Marie Rice
 3728 E Klieforth Avenue                          3728 E Klieforth Avenue
 Cudahy, WI 53110                                 Cudahy, WI 53110

        I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.
                                                    /s/ Ricardo Becker
                                                        Ricardo Becker




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                                                                                                           Annual Escrow Account
                                                                                                            Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                                ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                             004    1461353225_ESCROWDISCSTMT_200326

                                                                                      DATE: 03/26/20

                                                   82
             KENNETH R RICE                                                           PROPERTY ADDRESS
             DENISE M RICE                                                            3728 EAST KLIEFORTH AVENUE
             3728 E KLIEFORTH AVE                                                     CUDAHY, WI 53110
             CUDAHY, WI 53110


PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 05/01/2020
THROUGH 04/30/2021.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 05/01/2020 TO 04/30/2021 ---------
HOMEOWNERS F/P                                                 $1,677.31
CITY                                                           $5,298.65
TOTAL PAYMENTS FROM ESCROW                                     $6,975.96
MONTHLY PAYMENT TO ESCROW                                         $581.33
          ------ ANTICIPATED ESCROW ACTIVITY 05/01/2020 TO 04/30/2021 ---------
                    ANTICIPATED PAYMENTS                                                            ESCROW BALANCE COMPARISON
MONTH         TO ESCROW              FROM ESCROW                 DESCRIPTION                 ANTICIPATED                   REQUIRED

                                                         STARTING BALANCE -->                $2,126.37                    $2,906.65
MAY                $581.33                                                                   $2,707.70                    $3,487.98
JUN                $581.33                                                                   $3,289.03                    $4,069.31
JUL                $581.33                                                                   $3,870.36                    $4,650.64
AUG                $581.33                                                                   $4,451.69                    $5,231.97
SEP                $581.33                                                                   $5,033.02                    $5,813.30
OCT                $581.33                                                                   $5,614.35                    $6,394.63
NOV                $581.33                                                                   $6,195.68                    $6,975.96
DEC                $581.33                                                                   $6,777.01                    $7,557.29
JAN                $581.33               $1,677.31 HOMEOWNERS F/P                            $5,681.03                    $6,461.31
                                         $5,298.65 CITY                                 L1->   $382.38               L2-> $1,162.66
FEB                $581.33                                                                     $963.71                    $1,743.99
MAR                $581.33                                                                   $1,545.04                    $2,325.32
APR                $581.33                                                                   $2,126.37                    $2,906.65
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS LESS THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SHORTAGE. YOUR ESCROW SHORTAGE IS $780.28.
                                             CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                           $624.51
ESCROW PAYMENT                                                                            $581.33
SHORTAGE PYMT                                                                              $65.02
NEW PAYMENT EFFECTIVE 05/01/2020                                                        $1,270.86
YOUR ESCROW CUSHION FOR THIS CYCLE IS $1,162.66.




                                        ********** Continued on reverse side ************

                                                                                          Escrow Payment Options
                                                                                 I understand that my taxes and/or insurance has increased and that
                                                                                 my escrow account is short $780.28. I have enclosed a check for:

                                                                                      Option 1: $780.28, the total shortage amount. I understand
Loan Number:                                                                          that if this is received by 05/01/2020 my monthly mortgage
Statement Date:              03/26/20                                                 payment will be $1,205.84 starting 05/01/2020.
Escrow Shortage:              $780.28
                                                                                      Option 2: $_____________ , part of the shortage. I understand
                                                                                      that the rest of the shortage will be divided evenly and added
        Important: Please return this coupon with your check.                         to my mortgage payment each month.
                                                                                       Option 3: You do not need to do anything if you want to
                                                                                       have all of your shortage divided evenly among the next
            BSI FINANCIAL SERVICES                                                     12 months.
            314 S. Franklin Street, 2nd Floor                                    Please make you check payable to: BSI FINANCIAL SERVICES and
            P.O. Box 517                                                         please include your loan number on your check.
            Titusville, PA 16354


Licensed as Servis One, Inc. dba BSI Financial
                              Case             Services. BSI Financial
                                      17-24643-kmp            Doc 65   Services NMLS#
                                                                             Filed     38078. Colorado
                                                                                    04/06/20           Office 4
                                                                                                     Page     Location:
                                                                                                                of 5 7200 S. Alton Way, Ste.
B180, Centennial, CO 80112 (303) 309-3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (#
2001485-DCA). North Carolina Collection Agency Permit (# 105608).
                                                                                                                                                                                                  PAGE 2 OF 2

                                                                  ********** Continued from front **********


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 05/01/2019 AND ENDING 04/30/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 05/01/2019 IS:
   PRIN & INTEREST                                                                                                                        $624.51
   ESCROW PAYMENT                                                                                                                         $426.98
   BORROWER PAYMENT                                                                                                                     $1,051.49
                       PAYMENTS TO ESCROW                                       PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                     ACTUAL                     DESCRIPTION                  PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                                  $0.00               $6,284.92-
   MAY                 $0.00                   $3,309.38           *                                                                                               T->              $0.00               $2,975.54-
   JUN                 $0.00                     $676.10           *                                                                                                                $0.00               $2,299.44-
   JUL                 $0.00                     $651.47           *                                                                                                                $0.00               $1,647.97-
   AUG                 $0.00                   $1,001.33           *                                                                                                                $0.00                 $646.64-
   SEP                 $0.00                     $676.10           *                                                                                                                $0.00                  $29.46
   NOV                 $0.00                   $1,326.40           *                                                                                                                $0.00               $1,355.86
   DEC                 $0.00                     $325.51           *                                                                                                                $0.00               $1,681.37
   JAN                 $0.00                     $325.05           *                                       $1,677.31 * HOMEOWNERS F/P                                               $0.00                 $329.11
   FEB                 $0.00                     $650.11           *                                       $5,298.65 * CITY                                                         $0.00               $4,319.43-
   MAR                 $0.00
                  __________                  $11,645.49
                                              __________           *         __________                   __________                                                                $0.00          A-> $15,964.92-
                           $0.00                $2,704.04                             $0.00                $6,975.96


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $0.00. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $15,964.92-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

  Determining your Shortage or Surplus
  Shortage:
   .
  Any shortage in your escrow account is usually caused by one the following items:
   . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
   . A projected increase in taxes for the upcoming year.
     The number of months elapsed from the time of these disbursements to the new payment effective date.
  Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
  shortage can be paid either partially or in full.
  Surplus:
   .
  A surplus in your escrow account is usually caused by one the following items:
   .  The insurance/taxes paid during the past year were lower than projected.
   .  A refund was received from the taxing authority or insurance carrier.
      Additional funds were applied to your escrow account.
  If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
  run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
  your escrow account.




If you have filed a bankruptcy petition and there is either an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we
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may not and do not intend to pursue collection of that obligation from you personally. If these circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally.
Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired
